         Case 2:23-cv-01050-JWH-KES Document 46 Filed 05/17/23 Page 1 of 5 Page ID #:614
Name and address:
                 Christina N. Goodrich (SBN 261722)
                           K&L GATES LLP
               10100 Santa Monica Boulevard, 8th Floor
                    Los Angeles, California 90067

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                             CASE NUMBER
ENTROPIC COMMUNICATIONS, LLC
                                                         Plaintiff(s),                           2:23-cv-01050-JWH-KES

                  v.
                                                                               APPLICATION OF NON-RESIDENT ATTORNEY
COMCAST CORPORATION, et al.                                                          TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                         PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Lenning, Nicholas F.
Applicant's Name (Last Name, First Name & Middle Initial)                                           check here if federal government attorney
K&L Gates LLP
Firm/Agency Name
925 Fourth Avenue, Suite 2900                                            (206) 370-6685                         (206) 623-7022
                                                                         Telephone Number                       Fax Number
Street Address
Seattle, WA 98104                                                                           nicholas.lenning@klgates.com
City, State, Zip Code                                                                                E-mail Address

I have been retained to represent the following parties:
Entropic Communications, LLC                                             ✖   Plaintiff(s)    Defendant(s)      Other:
                                                                             Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                         Date of Admission             Active Member in Good Standing? (if not, please explain)
District of Columbia Court of Appeals                      04/01/2013                Yes
Supreme Court of Washington                                02/17/2019                Yes
U.S. Court of Appeals, Federal Circuit                     11/18/2019                Yes

G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 1 of 3
  Case 2:23-cv-01050-JWH-KES Document 46 Filed 05/17/23 Page 2 of 5 Page ID #:615
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title ofAction                             Date ofApplication        Granted I Denied?
 8:20-cv-00490                           Sharp Corporation v. Vizio Inc., et al.                  04/29/2020                Granted
                                                                                                                         ------
2:22-cv-07775                     Entropic Commc'ns LLC v. DirecTV, LLC et al.                  03/10/2023                Granted




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:
  NIA




 Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
 of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
 granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
 privileges in the Central District of California.

               SECTION II - CERTIFICATION

               I declare under penalty of perjury that:

               (1) All of the above information is true and correct.
               (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
                   substantial business, professional, or other activities in the State of California.
               (3) I am not currently suspended from and have never been disbarred from practice in any court.
               (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
                   Criminal Procedure, and the Federal Rules of Evidence.
               (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
                   of this Court and maintains an office in the Central District of California for the practice of law, in
                   which the attorney is physically present on a regular basis to conduct business, as local counsel
                   pursuant to Local Rule 83-2.1.3.4.


                Dated ~
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                                                                                                                                            Page 2 of 3
G-64 (09/20)                APPUCATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE
- - - - - - - - - --·-- - -·- - - - - - - - - -
          Case 2:23-cv-01050-JWH-KES Document 46 Filed 05/17/23 Page 3 of 5 Page ID #:616


      SECTION III - DESIGNATION OF LOCAL COUNSEL
      Goodrich, Christina N.
      Designee's Name (Last Name, First Name & Middle Initial)
      K&L Gates LLP
      Firm/Agency Name
      10100 Santa Monica Boulevard, 8th Floor                           (310) 552-5547                            (310) 552-5001
                                                                        Telephone Number                          Fax Number
      Street Address                                                    christina.goodrich@klgates.com
      Los Angeles, CA 90067                                             Email Address
      City, State, Zip Code                                             261722
                                                                        Designee's California State Bar Number

      I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
      Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
                    Dated May 17, 2023

                                                                        :r"'f'."""
                                                                        Christina N. Goodrich


                                                                        ~~ (srp/Jt;d_
                                                                                         (pt,... typ, o, p,;nt)


                                                                        Designee s Signature
      SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




     G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                        Page 3 of3
Case 2:23-cv-01050-JWH-KES Document 46 Filed 05/17/23 Page 4 of 5 Page ID #:617



   1
                            UNITED STATES DISTRICT COURT
   2
                           CENTRAL DISTRICT OF CALIFORNIA
   3

   4
        Entropic Communications, LLC,                 Case No. 2:23-cv-01050-JWH-KES
   5
              Plaintiff,                                 JURY TRIAL DEMANDED
   6

   7    v.
   8
        Comcast Corporation, Comcast Cable
   9    Communications, LLC, and Comcast
        Cable Communications Management,
  10
        LLC,
  11
              Defendants.
  12

  13                    DECLARATION OF NICHOLAS F. LENNING
  14
             I, Nicholas F. Lenning, declare as follows:
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  16
             1.     I am a resident of the United States and over the age of 18. I am a Partner

  17   with the law firm K&L Gates LLP and submit this declaration in connection with the
  18
       Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice on
  19

  20   behalf of Plaintiff Entropic Communications, LLC.

  21         2.     I am licensed to practice law before the District of Columbia Court of
  22
       Appeals, was admitted on April 1, 2013, and am currently an active member in good
  23

  24   standing.

  25         3.     On May 17, 2023, following the procedures of the District of Columbia
  26
       Bar, an online request for a Certificate of Good Standing was submitted. The
  27

  28   certificate will be electronically filed upon delivery.

       DECLARATION OF NICHOLAS                                   CASE 2:23-CV-01050-JWH-KES
       LENNING
Case 2:23-cv-01050-JWH-KES Document 46 Filed 05/17/23 Page 5 of 5 Page ID #:618



   1         4.     I am also licensed to practice law in the State of Washington (Bar No.
   2
       54740), was admitted on February 27, 2019, and am currently an active member in
   3

   4   good standing.

   5         5.     On May 17, 2023, following the procedures of the State of Washington
   6
       Bar Association, an online request for a Certificate of Good Standing was submitted.
   7

   8   The current processing time is approximately one week from the date of submission.
   9   The certificate will be electronically filed upon delivery.
  10

  11

  12         I declare under penalty of perjury that the foregoing is true and correct.
  13   Executed on May 17, 2023 in Seattle, WA.
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       DECLARATION OF NICHOLAS                  -2-             CASE 2:23-CV-01050-JWH-KES
       LENNING
